(62)    At the Fall Term, 1848, of Wilkes Superior Court of Law a rule was taken upon the defendant in this case to show cause why he should not produce at the trial a certain bill of sale.  At Spring Term, 1849, the rule coming on to be heard upon argument of counsel, "it was ordered by the court that the rule be discharged," from which interlocutory order the plaintiff appealed.  The affidavit upon which the rule was obtained is made a part of the case, but there is no statement of facts by the judge below.
No facts are stated upon which to enable this Court to decide whether it was erroneous to discharge the rule or not.  As we can see no error, the judgment of the court below must be affirmed, as a matter of course.
The affidavit which is sent as a part of the case is only evidence. The court should have ascertained and stated the facts, so as to present the question of law.
PER CURIAM.               Ordered to be certified accordingly.
Cited: Maxwell v. McDowell, 50 N.C. 392.
(63)